            Case 1:16-cv-00076-BLW Document 16 Filed 06/17/16 Page 1 of 2



Rick D. Roskelley (Bar No. 5125)
Email: rroskelley@littler.com
LITTLER MENDELSON, P.C.
3960 Howard Hughes Parkway
Suite 300
Las Vegas, NV 89169-5937
Telephone: 702.862.8800
Fax: 702.862.8811

ATTORNEY FOR WINCO FOODS, LLC




                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF IDAHO

GLORIA MITCHELL, individually and on
behalf of all other similarly situated,

                   Plaintiff,                   Case No. 1:16-cv-00076-BLW

       v.                                       [PROPOSED] STIPULATION AND
                                                ORDER TO EXTEND TIME FOR
WINCO FOODS, LLC, a Delaware limited            DEFENDANT TO FILE A REPLY IN
liability company,                              SUPPORT OF ITS MOTION TO
                                                DISMISS
                   Defendant.

       Plaintiff GLORIA MITCHELL (hereinafter “Plaintiff”) and Defendant WINCO FOODS,

LLC (hereinafter “Defendant”), by and through their respective counsel of record, hereby

stipulate and agree to extend the time for Defendant to file a Reply in Support of Its Motion to

Dismiss from the current deadline of June 20, 2016 up to and including July 5, 2016.

///

///

///
         Case 1:16-cv-00076-BLW Document 16 Filed 06/17/16 Page 2 of 2




       There is good cause for entering into this stipulation due to scheduling restraints on the

part of Defendant’s counsel necessitating additional time for the drafting of the Reply. The

parties agree and represent to the Court that this request is made in good faith and not for the

purpose of delay.


Dated: June 17, 2016                               Dated: June 17, 2016

Respectfully submitted,                            Respectfully submitted,



/s/ Steven L. Woodrow                              /s/ Rick D. Roskelley
Eric B. Swartz, Esq.                               Rick D. Roskelley, Esq.
eric@jonesandswartzlaw.com                         rroskelley@littler.com
JONES & SWARTZ PLLC                                LITTLER MENDELSON, P.C.
623 W. Hays Street                                 3960 Howard Hughes Parkway
Boise, Idaho 83702                                 Suite 300
                                                   Las Vegas, NV 89169-5937
Steven L. Woodrow, Esq.
swoodrow@woodrowpeluso.com
Patrick H. Peluso, Esq.                            ATTORNEY FOR WINCO FOODS, LLC
ppeluso@woodrowpeluso.com
WOODROW & PELUSO, LLC
3900 East Mexico Ave., Suite 300
Denver, Colorado 80210



ATTORNEYS FOR GLORIA MITCHELL


                                           ORDER

                                                     IT IS SO ORDERED.

                                                     Dated: _____________________, 2016.




                                                ____________________________________
                                                UNITED STATES DISTRICT COURT JUDGE




                                               2
